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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 CESIUMASTRO INC.,
 Plaintiff

 v.                                                                  Case No. 1:24-cv-314

 ERIK LUTHER and
 ANYSIGNAL, INC.,
 Defendants

                     PLAINTIFF’S COMPLAINT AND JURY DEMAND

       Plaintiff CesiumAstro, Inc. (“CesiumAstro”) files this Complaint against Defendants Erik

Luther (“Luther”) and AnySignal, Inc. (“AnySignal”) in the above-entitled action and states as

follows:

                                              I.
                                        INTRODUCTION

       1.      CesiumAstro builds systems and components for its aerospace customers, and it

trusted Luther, its former Vice President of Product, with some of its most important trade secrets.

That trust was misplaced. While he was working at CesiumAstro, Luther misappropriated

CesiumAstro’s trade secrets and plotted to evade his contractual obligations not to compete against

CesiumAstro. And during his departure and since then, Luther has tried to hide his wrongdoing

by spoliating documents and refusing to come clean about or stop his misconduct. CesiumAstro

had no choice but to file this complaint and seek court relief.

       2.      CesiumAstro is an industry leader in specialized integrated hardware and software

communications solutions for the aerospace industry. As CesiumAstro’s Vice President of

Product—a senior sales and strategy position—Luther obtained key confidential information

integral to CesiumAstro’s business. He had access to specifications, schematics, processes,

software, firmware code, and diagrams mapping out the company’s industry-leading,


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groundbreaking aerospace communications solutions. He received CesiumAstro’s confidential

customer lists and contact information, pricing information, and bid practices, competitive

assessments, strategy, customer channels, and advance development plans. And he was exposed

to information, including the identities, contact details, and practices, of CesiumAstro’s investors

and potential investors.

       3.      Through a limited pre-suit investigation that Luther has obstructed, CesiumAstro

has uncovered evidence that Luther exfiltrated some of this information to his personal devices

and accounts, including his personal email accounts and personal thumb drives. Forensic evidence

revealed, for example, that in the week leading to his resignation, Luther accessed an

uncharacteristically large number of confidential CesiumAstro documents. And after he resigned,

he refused—for months—to return CesiumAstro’s property, attempting to extract a concession for

doing so in the form of a release of all claims against him—notwithstanding that his employment

agreement with CesiumAstro required him to return this material anyway. When Luther turned in

his company-issued iPad, he had wiped it entirely, resetting it to factory settings and thereby

forever destroying the evidence of his misconduct on that device. And then there are other pieces

of hardware—including numerous USB devices that are known to have been plugged into Luther’s

company laptop—that have vanished.

       4.      Luther’s misconduct has been done in concert with his co-defendant, AnySignal, a

startup competitor to CesiumAstro. With only a few employees and $5 million dollars in investor

funding, it would not even be in the same orbit as CesiumAstro, which has spent tens of millions

of dollars working with (now) 170 employees for seven years to develop its technologies. But

with Luther’s help, AnySignal has launched to directly compete with CesiumAstro in the

specialized space for software-defined radios (“SDRs”). Indeed, on his way out the door at




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CesiumAstro, Luther claimed he was going to work for a “three-person company” to continue

work aligned with his interests—a description that AnySignal fits. And on Luther’s last day at

CesiumAstro, he proclaimed his intention to develop his “ideas around SDRs” to compete against

his former employer (despite contractual obligations forbidding it).

       5.      Despite Luther’s best efforts to erase any evidence of wrongdoing and months-long

attempts to impede CesiumAstro’s investigations, CesiumAstro has nevertheless experienced and

uncovered the negative effects of Luther’s and AnySignal’s actions.                These acts of

misappropriation include soliciting a little-known potential investor in CesiumAstro (whose

contact information Luther sent to his personal email address). They include developing a

complicated radio technology offering that, on information and belief, could not have been

developed on AnySignal’s timeline and with AnySignal’s scarce resources—absent

CesiumAstro’s technical diagrams and specifications (to which Luther had access). And they

include AnySignal edging out CesiumAstro on this complicated radio technology in a sales bid to

a customer (with whom Luther led a strategic engagement, and whose contact information he

accessed, during his time at CesiumAstro).

       6.      To remedy the wrongs committed by Luther and AnySignal, and to prevent any

future ones, CesiumAstro brings this action for misappropriation of trade secrets under federal and

Texas law, breach of contract, tortious interference with contract, and breach of fiduciary duty.

                                               II.
                                             PARTIES

       7.      Plaintiff CesiumAstro is a Delaware corporation with its principal place of business

in Austin, Texas.

       8.      Defendant Luther is an individual who is a citizen of the State of Texas, residing at

3902 Valley View, Round Rock, Texas 78681.



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       9.      Defendant AnySignal is a Delaware corporation with its principal place of business

located at 111 Eucalyptus Drive, El Segundo, California 90245.

                                          III.
                                 VENUE AND JURISDICTION

       10.     The Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 for

CesiumAstro’s claim under 18 U.S.C. §§ 1836–39, et seq., for misappropriation of trade secrets

under the Defend Trade Secrets Act. The Court has supplemental jurisdiction pursuant to

28 U.S.C. § 1367 over the Texas Uniform Trade Secrets Act, breach of contract, tortious

interference, and fiduciary duty and duty of loyalty claims because they involve a common nucleus

of operative fact.

       11.     Venue and personal jurisdiction with respect to Luther are proper in this Court

pursuant to 28 U.S.C. § 1391 pursuant to the Proprietary Information and Inventions Agreement

between CesiumAstro and Luther, dated December 27, 2020, and as amended on February 11,

2021 (the “PIIA,” attached hereto as Exhibit A). The PIIA contains a mandatory forum selection

clause designating the “state or federal courts in Travis County, Texas” as the exclusive venue for

any action arising out of or in any way related to the PIIA. Venue and personal jurisdiction with

respect to Luther are also proper because a substantial portion of the events and omissions giving

rise to this lawsuit occurred in this District and Division. These events and omissions include

Luther entering into the PIIA, Luther’s employment with CesiumAstro, and Luther’s actions to

misappropriate CesiumAstro’s trade secrets and breach the PIIA.

       12.     Venue and personal jurisdiction with respect to AnySignal are proper because a

substantial portion of the events and omissions giving rise to this lawsuit occurred in this District

and Division as they relate to AnySignal. These events and omissions include AnySignal

recruiting and inducing Luther, a resident of this District and Division, to improperly disclose the



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confidential and trade secret information of CesiumAstro, a company with its principal place of

business in this District and Division, and to tortiously interfere with CesiumAstro’s rights under

the PIIA, a contract between Luther and CesiumAstro that contains a mandatory forum selection

designating “state or federal courts in Travis County, Texas” as the exclusive venue for any action

arising out of or in any way related to the PIIA. These acts and omissions further include

AnySignal’s misappropriation of CesiumAstro’s trade secret and other confidential and

proprietary information from this District and Division.      There are additional examples of

AnySignal’s forum contacts, but CesiumAstro cannot include them in this public filings because

Luther has (improperly) designated them as “attorney’s eyes only” in pre-suit negotiations with

CesiumAstro.

                                          IV.
                                 FACTUAL BACKGROUND

A.     CesiumAstro and its Trade Secrets.

       13.     Headquartered in Austin, Texas, CesiumAstro is an industry leader in active phased

array and software-defined communication payload systems for space, airborne, and ground

platforms, including satellites, missiles, unmanned aircraft systems, vehicles, and more.

CesiumAstro offers—for a wide range of dual use commercial and national security applications—

a unique product suite of scalable products, from discrete modules to complete full-stack software-

defined payloads that work right out-of-the-box, including all hardware, software, and firmware

required to provide high-throughput connectivity. These products range from those designed for

single-beam satellite downlink solutions to multi-beam and full-duplex communication payloads.

Cesium’s hardware and software solutions enable a range of commercial, governmental, and

defense objectives.




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       14.     Among CesiumAstro’s cutting-edge offerings is its Software Defined Radio

(“SDR”) products, including its state-of-the-art SDR-2104, the Reconfigurable Digital Processor,

the SDR-1001, Commpack and Nightingale, which implement traditional analog fixed-features of

a radio communications systems controllable by means of computer software. CesiumAstro’s

SDRs are novel, modular, scalable systems—tested and qualified to NASA GEVS standards.

These SDRs can work alongside other devices featuring waveform technology to comprise high-

powered offering that can establish and maintain dynamic communications networks in space.

       15.     CesiumAstro pours its resources into the research and development of these

technologies to create industry-leading products. For example, it has received and put to good use

over $100 million in venture-backed funds and government-sponsored grants. And with respect

to its waveform technology, CesiumAstro has spent years developing it, engaging engineers of

practically every field of electrical, mechanical, and software discipline, and even acquiring a

London-based company specializing in the difficult-to-pioneer technology.         Few others are

developing this specialized technology for aerospace applications.        And to CesiumAstro’s

knowledge, no other company has the capabilities to combine this waveform technology with

SDRs to create an offering like its SDR product line.

       16.     Given the specialized nature of its designs and products, CesiumAstro’s business

depends in part on this intellectual property, which CesiumAstro goes to great lengths to protect.

CesiumAstro’s trade secrets and confidential information span a wide variety of operations and

business activity, such as business know-how relating to corporate strategies, pricing information,

and the identities and contact information of strategic partners, investors, and loyal customers.

These trade secrets and confidential information further include, for example, customer and

investor lists, pricing and bid information, product-development processes and procedures,




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patterns, compilations, methods, techniques, customer preferences, and other processes. These

trade secrets and confidential information further include curated compilations showing the names

and sometimes contact information of potential partners, vendors, customers, and investors. They

also include the content and summaries of CesiumAstro’s negotiations and bid information to

develop its key strategic and customer relationships and grow its business. And they include

CesiumAstro’s best sales practices and strategies for maintaining and growing its customer,

vendor, and investor relationships. CesiumAstro’s trade secrets and confidential information also

include technological information covering CesiumAstro’s development of a suite of scalable

products for active phased array communications and SDR technology. These further include, for

example, schematics and diagrams of CesiumAstro’s products and scalable offerings of active

phased array communications technology—the SDR technology generally, waveform technology,

CesiumAstro’s CommPack, Nightingale, and its many other products—as well as the trial-and-

error research and development that went into these products and offerings. All of these trade

secrets and confidential information described in this paragraph (collectively, the “Trade Secrets”)

are related to products or services that CesiumAstro uses in, or intends to use in, interstate or

foreign commerce. CesiumAstro uses its Trade Secrets to market, promote, and sell products—

that themselves incorporate the Trade Secrets—to customers nationwide and beyond.

       17.     CesiumAstro’s Trade Secrets derive considerable value from not being publicly

known outside of CesiumAstro. They derive independent economic value, actual and potential,

from not being generally known to, and not being readily ascertainable by proper means by, other

persons who can obtain economic value from their disclosure or use. The secrecy of the Trade

Secrets gives CesiumAstro a competitive advantage and contributes to CesiumAstro’s technology

standing out from that of its competitors. For example, based on its technological diagrams,




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schematics, processes, and other technical information, CesiumAstro is able to build and deliver

cutting-edge products that its competitors simply cannot match; the publicity of this technological

information or its use by competitors would allow CesiumAstro’s competitors to advance their

own products and narrow the wide gap between CesiumAstro and the next best solutions available

on the market. Similarly, the secrecy of CesiumAstro’s customer, vendor, investor, and other

business information has independent economic value; if CesiumAstro’s competitors had access

to CesiumAstro’s compilations memorializing its customers, vendors, and investors—including

information like pricing, best practices, contacts, and behaviors attendant to each—those

competitors could unfairly compete for customers and investors, harming CesiumAstro’s market

share and the goodwill of CesiumAstro’s reputation as a leader in this space.

B.     CesiumAstro’s efforts to protect its Trade Secrets.

       18.     CesiumAstro takes reasonable steps to protect its Trade Secrets and other

confidential information from disclosure. These steps include policies and procedures regarding

employees, third parties, electronic protections, and physical security. One such step is to only

disclose the Trade Secrets to employees on a need-to-know basis. And when CesiumAstro does

disclose the Trade Secrets, it first requires employees who stand to gain access to sign a

confidentiality agreement, like the PIIA that Luther signed when his employment with

CesiumAstro began.

       19.     Among other things, these agreements generally require employees with access to

the Trade Secrets and other confidential information:

                  to not disclose or use confidential or Trade Secret information
                   without CesiumAstro’s prior consent;

                  to use CesiumAstro’s confidential or Trade Secret information
                   only for the benefit of CesiumAstro;




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                  to return all company property, including confidential and Trade
                   Secret information, immediately upon termination of
                   employment; and

                  to assign any inventions or intellectual property developed in the
                   course of their employment to CesiumAstro.

       20.     Further, CesiumAstro limits access to the Trade Secrets through actions and

procedures designed to prevent any unauthorized use or disclosure. For example, entry into

CesiumAstro’s facilities is controlled; access is allowed only to authorized individuals with a

badge, and a “no tailgating” policy is posted at entrances. Inside, Trade Secrets reduced to

hardcopy reside in secured locations; again, access is allowed only to authorized individuals.

CesiumAstro protects its IT systems with passwords and unique login credentials, and monitors

them with security personnel and software; once again, access is limited to only authorized

individuals.   CesiumAstro also maintains other network protections to prevent unauthorized

external access, including firewalls, encryption, and cyber security software.

       21.     CesiumAstro maintains employee policies that express the importance of

confidentiality and prohibit unauthorized actions regarding confidential information, including an

employee handbook. CesiumAstro also trains its employees on the importance of maintaining

confidentiality.

       22.     When disclosing any Trade Secrets or other confidential information to third parties

like customers, partners, or vendors—which CesiumAstro only does on a need-to-know basis—

CesiumAstro requires executed non-disclosure agreements preventing any unauthorized use or

disclosure.




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C.     Luther agrees to maintain CesiumAstro’s Trade Secrets in confidence, return them
       to the Company upon his termination, and to not compete for a year after
       termination.

       23.        As a condition of his employment with CesiumAstro, Luther signed the PIIA in

December 2020. This PIIA limits access, use, and disclosure of confidential information to protect

CesiumAstro’s Trade Secrets and other confidential information. It also contains a one-year non-

compete clause.

       24.        In particular, with respect to CesiumAstro’s Trade Secrets and confidential

information, Luther agreed that “[CesiumAstro] has invested significant time, money, and

expertise in developing the Proprietary Information and developing the goodwill and relationships

it enjoys with actual and potential customers, employees, vendors, and independent contractors.”

Ex. A § 2.1. Luther agreed that “[a]s a result of [his] Service, . . . [he would] receive Proprietary

Information and Third Party Information and be associated with the Company’s goodwill.” Id.

       25.        Luther agreed that he would hold this information “in the strictest confidence” and

“not use, except for the benefit of the Company, any Proprietary Information and [would] not

disclose, make available, discuss, transmit, use, lecture upon, or publish any Proprietary

Information, except as” expressly authorized by CesiumAstro’s Board or CEO. Id. § 2.2.

       26.        The PIIA also imposed more specific requirements on how Luther was to maintain

(or not) CesiumAstro’s Trade Secret and other confidential information. Luther agreed he would

not “store or backup, in whole or in part, any Proprietary Information or Third Party Information

on or using any service or device not owned by the Company, unless expressly authorized to do

so.” Id. § 2.6.

       27.        Luther further agreed that during his employment, he would “not use [his]

association with the goodwill of the Company for the benefit of any person or entity other than the

Company.” Id.


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       28.      At the end of his employment—or at any time at CesiumAstro’s request—Luther

agreed to

                immediately deliver to the Company (and will not keep in my
                possession, recreate or deliver to anyone else) all drawings, records,
                data, notes, reports, proposals, lists, correspondence, blueprints,
                sketches, materials, equipment, memoranda, specifications, devices,
                formulas, and other documents (whether written, printed, or
                otherwise reproduced or recorded), together with all copies and
                derivations thereof, including copies or derivations stored in any
                electronic medium, and any other material containing, constituting,
                or disclosing any Company Inventions, Third Party Information, or
                Proprietary Information. I will also immediately deliver all
                Company property, including but not limited to, laptops, pagers, cell
                phones, corporate credit cards, keys and/or access cards.

Id. § 7. CesiumAstro’s Employee Handbook contains a similar company policy applicable to the

termination of employment: “A team member must return all equipment, manuals, documentation,

lab notebooks, or any other property of CesiumAstro prior to receiving his or her last paycheck.”

Before starting at CesiumAstro, Luther signed a form acknowledging and agreeing to be bound by

the Employee Handbook.

       29.      Also in the PIIA, Luther agreed to “irrevocably assign to and vest all title, interest,

and right in the Company all my Ownership Rights in and to any and all Company Inventions,”

and he “acknowledge[d] that all Company Inventions shall be the sole property of the Company

and that the Company shall be the sole owner of all Ownership Rights in connection therewith.”

Ex. A § 3.1. The PIIA defines “Company Inventions” as

                “discoveries, developments, improvements, trade secrets, processes,
                formulas, data, lists, software programs, and all other works of
                authorship, mask works, ideas, concepts, know-how, designs,
                methodologies and techniques, whether or not any of the foregoing
                is or are patentable or registrable under copyright or any other
                intellectual property laws or industrial property laws in the United
                States or elsewhere” that “(i) relate to the business or proposed
                business of the Company and that are discovered, developed,
                created, conceived, reduced to practice, made, learned or written by
                me, either alone or jointly with others, during my Service;


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               (ii) utilize, incorporate or otherwise relate to Proprietary
               Information; or (iii) are discovered, developed, created, conceived,
               reduced to practice, made, or written by me using Company time,
               property or equipment.”

Id. § 1.1 (defining “Company Inventions” and incorporating the definition of “Inventions”);

id. § 1.3 (defining “Inventions”).

       30.     The PIIA also prohibited Luther from competing with CesiumAstro during his

employment and for a period of one year thereafter. Specifically, Luther acknowledged his

understanding that “the Company’s willingness to provide [him] with access to the Proprietary

Information and Third Party Information and to associate [him] with the Company’s goodwill is

based in material part on [his] agreement to the [non-compete and non-solicitation provisions of

the PIIA] and that any breach of [these provisions] will materially damage the Company.” Id.

§ 5.1. Luther also “acknowledge[d] the nature of the Proprietary Information and Third Party

Information to which [he] will be given access would make it difficult, if not impossible, for [him]

to work for a competing company in a position where [his] duties are similar to those [he]

perform[s] for the Company without disclosing or utilizing the Proprietary Information and Third

Party Information.” Id. Accordingly, Luther agreed that

               during the course of my Service [at CesiumAstro], and for a period
               of twelve (12) months immediately following the end of my Service
               for any reason, I will not, either directly or indirectly, (i) act in or
               oversee, or agree to act in or oversee, any role that is similar in one
               or more ways to my role for the Company, whether as an advisor,
               agent, consultant, director, employee, officer, partner, proprietor or
               otherwise of, or (ii) participate in the organization, operation,
               management or control of, any person, corporation, firm, or other
               entity that competes with, or that is planning to compete with, the
               Company’s business in the Territory [which is limited to only
               certain geographic areas in which “(I) the Company’s products and
               services are then deployed, (II) the Company then has a customer or
               (III) the Company then has operations or otherwise targets sales and
               marketing activities.”]




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Id. § 5.4(a). Luther further agreed that this one-year time period would be “be extended by one

day for each day [he] fail[s] to comply with the restriction at issue.” Id. § 8.2.

       31.     The PIIA’s prohibitions on Luther’s ability to compete extend to interference with

customer relationships. Id. § 5.2 For a year following the termination of his employment, Luther

agreed that he would not

               (i) solicit any Customer for business involving Competitive
               Products or Services; (ii) communicate with any Customer, or
               communicate with another person regarding any Customer, for the
               purpose of causing or enabling the Customer to terminate, diminish,
               or alter in a way that is disadvantageous to the Company its business
               relationship or potential business relationship with the Company;
               (iii) provide any Customer with Competitive Products or Services;
               or (iv) assist any other person or entity in accomplishing any of the
               foregoing.

Id.

       32.     As a remedy for any breach of the PIIA, Luther agreed that “any breach or

threatened breach of any term of this Agreement will result in immediate and irreparable harm to

the Company and will cause damage to the Company in amounts difficult to ascertain and that

monetary damages alone will not provide an adequate remedy to the Company.” Id. § 8.1. Luther

acknowledged that breach of the PIIA would entitle CesiumAstro to emergency, preliminary, and

permanent injunctive relief. Id.

       33.     CesiumAstro performed all of its contractual obligations under the PIIA, which is

supported by adequate consideration.

D.     Luther gains access to CesiumAstro’s Trade Secrets.

       34.     After signing the PIIA, Luther joined CesiumAstro as Commercial Business

Development Director. By January 3, 2022, he was promoted to Vice President of Product.

Subject to his compliance with his PIIA and CesiumAstro policies, Luther was granted access to

confidential systems, information, and documents in connection with his employment duties with


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CesiumAstro, including the Trade Secrets. Luther was engaged in product development, business

development, sales, and customer engagements, including technical requirements and corporate

strategy. He was a close advisor to the CEO. Among these many responsibilities, he devoted

particular attention to CesiumAstro’s SDR technology.

       35.     During Luther’s employment with CesiumAstro, AnySignal was incorporated in

May 2022 by John Malsbury (now its CEO) and Jeffrey Osborne (now its COO). Malsbury and

Osborne have had personal connections with Luther for years. Luther and Malsbury worked

together in product management at Ettus Research around 2012 to 2014. And Luther and Osborne

both acted as advisors to Qoherent, Inc., another company developing radio communications

technologies. When Luther joined CesiumAstro, he disclosed his advisor position at Qoherent,

explaining that Qoherent was not competitive with CesiumAstro, and was in the business of AI

and quantum computing for wireless communications. Since then, however, and without Luther

providing any updates to CesiumAstro about this change, Qoherent’s business model has evolved

to also become directly competitive to CesiumAstro’s. Specifically, Qoherent is involved in the

creation of “intelligent radios” that purport to leverage AI software in radio systems.

       36.     AnySignal is also a direct competitor to CesiumAstro. As explained on its website,

“AnySignal provides end-to-end solutions that cover communications, radar, navigation, and RF

sensing for advanced aircraft, satellites, and national security.”

       37.     Luther oversaw CesiumAstro’s marketing and sales, with a particular focus on

CesiumAstro’s commercial satellite business encompassing the SDR product line and waveform

technology, among other things. His responsibilities required a knowledge of and access to

CesiumAstro’s technologies, which he earned through the PIIA, including its schematics, design

and manufacturing plans, software, and firmware.




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       38.     Luther’s roles—and again, the PIIA—also earned him access to CesiumAstro’s

business and contractual information, including: CesiumAstro’s curated compilations of identities

of customers, vendors, and investors; their pricing information, preferences, and historical

behavior with the company; and CesiumAstro’s bidding practices and specs for customers and

vendors.

E.     Luther resigns from CesiumAstro, refuses to return company property, and
       spoliates evidence of his wrongdoing.

       39.     Luther has improperly designated as “attorney’s eyes only” certain documents that

evidence AnySignal’s and Luther’s misappropriation of CesiumAstro’s Trade Secrets. Because

of Luther’s improper designations, CesiumAstro cannot detail these documents in this public

pleading but will do so at the appropriate time.

       40.     On August 17, 2023, Luther told Cesium’s CEO that he intended to resign. The

two had a discussion the next day about Luther’s time at Cesium. Luther said that he was going

to miss the relationship with Cesium’s recently acquired London office—the same one that Cesium

acquired to advance its waveform technology. Luther also said he intended to go work for a small,

“three-person” company, whose work was more aligned with his interests. AnySignal fits that

description. At that time, AnySignal only had three employees listed on its website. And

AnySignal’s work in SDRs is aligned with Luther’s interests. These same facts do not exist for

the marketing and sales role that Luther would later tell CesiumAstro he accepted with a company

called Saleae, Inc. Saleae’s website lists over a dozen employees (but not Luther) and explains

that the company makes and sells logic analyzers for electrical circuits.

       41.     On August 18, 2023—the same day of his discussion with CesiumAstro’s CEO

described above—Luther accessed an uncharacteristically large number of files (over 40) on his

CesiumAstro desktop computer compared to his usual computer activity. Among the filenames



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were terms like “Competitive Analysis” and “CesiumAstro – Sales and Financial Model

Overview.pptx.”

       42.    Early on the morning of August 21, 2023, Luther tendered his formal resignation

by email. Announcing his intention to compete with CesiumAstro and violate his non-compete

obligations, Luther wrote: “I plan to stay involved in the industry.” Luther also requested “a

modification of the non-compete terms”; his attached resignation letter explained that this

modification was intended to allow him to “continue work in [his] chosen field and pursue [his]

entrepreneurial ambitions.” Luther went so far as to include a draft release of his non-compete

obligations in the PIIA. CesiumAstro declined this offer.

       43.    Because Luther had access to CesiumAstro’s confidential and Trade Secret

material, CesiumAstro decided to exit him from the company the day he resigned. This decision

led to an exit meeting, at which Luther reiterated his requests to modify his non-compete

obligations. He told CesiumAstro’s Chief of Staff and Vice President of Human Resources that

he wanted to remain in the industry—specifically so he could develop his competing “ideas around

SDRs.” Of course, these “ideas” belonged to CesiumAstro pursuant to Luther’s assignment of all

rights to inventions to the company under the PIIA. Ex. A § 3.1. CesiumAstro declined Luther’s

offer that would have allowed him to compete in exchange for nothing.

       44.    CesiumAstro realized that afternoon that Luther’s company-assigned laptop was

not in his office. Luther said he forgot it at home and would have to return home to get it, even

though he acknowledged during his exit meeting that he knew there was a good chance he would

be “walked out” that very day. After several hours, Luther returned with it. Upon information

and belief, Luther manufactured the “mistake” of forgetting his device at home to buy additional




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time to attempt to spoliate evidence of his wrongdoing. On the day of his departure, he was

prevented from wiping the laptop only because CesiumAstro was able to remotely lock the device.

       45.     Luther also returned his company-issued iPad that day—which he spoliated by

resetting it to factory settings without any notification to or authorization from CesiumAstro. And

Luther never mentioned the various USB drives in his possession that forensic evidence shows

had been plugged into his CesiumAstro laptop and contained company files. On information and

belief, Luther deleted data on and claimed to misplace these devices to spoliate evidence of his

wrongdoing, including Trade Secrets in his possession.

       46.     Throughout his final day, Luther continued to access an inordinate and out-of-

character volume of CesiumAstro’s files on his CesiumAstro desktop. He accessed over 100 files

that day, almost all during the morning. These included an executed request for quote for a major

CesiumAstro     customer    (dated   just   a   few    weeks    prior),   numerous    files   from

“Development/Proposals” subfolders on CesiumAstro’s SharePoint storage, and many other

instances of internal notes, pipeline, and meeting summary documents.

       47.     On his final day, Luther executed an Employee Termination Certificate (the

“Termination Certificate,” attached hereto as Exhibit B). In it, Luther agreed and warranted the

following as true and correct:

                  “The name of my new employe is Saleae and my job title or
                   function is marketing & sales.”

                  “It is not my intent to become employed or otherwise associated
                   with a company who provides services or products related to or
                   competitive with those of the Company.”

                  “I understand I must notify the Company of any employment or
                   other service for compensation or remuneration relationship into
                   which I enter in the 12-month period following the end of my
                   employment with Company”




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                  “I understand I have non-disclosure. non-competition. and non-
                   solicitation obligations under my [PIIA] and I hereby reaffirm
                   my intent to comply with same.”

                  “I understand I have an obligation under my Agreement to
                   search diligently for any and all Proprietary Information or Third
                   Party Information that may be in my possession or stored on any
                   electronic device or medium of any kind to which I have access
                   and affirm I have done so.”

                  “I understand I am prohibited under my Agreement from
                   retaining any copy, compilation, or derivation or any Proprietary
                   Information and affirm I have not done so, will not do so, and
                   will immediately notify the Company’s Chief Executive Officer
                   if I later discover or otherwise come to have any Proprietary
                   Information or Third Party Information in my possession.”

Ex. B. Many of these representations proved to be false.

F.     AnySignal solicits and Luther discloses CesiumAstro’s Trade Secrets.

       48.     Despite Luther’s best efforts to cover his tracks, CesiumAstro has—even without

discovery—uncovered evidence of his misappropriations of CesiumAstro Trade Secrets, along

with his scheme with AnySignal to use that information in competition against CesiumAstro.

       49.     For example, on February 26, 2022, Luther forwarded from his CesiumAstro

company email address to his personal email address a CesiumAstro excel file titled “International

Partnership Opportunities.xlsx,” which contains a curated compilation of competing and potential

partner space companies, as well as one of its “[i]nvestors.” This conduct violated the PIIA’s

prohibition on “stor[ing] or back[ing-]up, in whole or in part, any Proprietary Information or Third

Party Information on or using any service or device not owned by the Company, unless expressly

authorized to do so.” Ex. A § 2.6.

       50.     In another violation, on March 19, 2022, Luther sent from his CesiumAstro

company email address to his personal email address a CesiumAstro slide deck regarding




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CesiumAstro’s offerings and bearing a footer stating “Proprietary Information” and “Contains

Cesium Trade Secrets.”

       51.     As another violation, on April 22, 2023, Luther forwarded from his CesiumAstro

company email address to his personal email address an email containing the contact information

for individuals at an important prospective CesiumAstro investor, whose niche investment role in

this field is also not widely known (“Investor A”). CesiumAstro was introduced to Investor A

only by personal introduction from one of CesiumAstro’s lead investors (“Investor B”). As part

of his employment with CesiumAstro, Luther attended numerous events with Investor A and

Investor B. For example, he attended an event co-sponsored by the two in April 2023. Luther

plotted to exclude CesiumAstro’s CEO from attending that same event—assuring him it was going

to be a “low-level get together” that did not warrant the CEO’s attendance. But just before the

event, the head of Investor B inquired with CesiumAstro’s CEO about attendance, as Investor B

wanted to introduce him to noteworthy potential investors and customers. Not only that, Investor

B had intended for CesiumAstro to be a key feature at the event and for its CEO to be the panel

speaker. On information and belief, Luther withheld this information from CesiumAstro’s CEO

to disrupt these introductions and divert these opportunities and relationships to himself, for his

own benefit and for the benefit of one or more of CesiumAstro’s competitors, including

AnySignal.

       52.     In addition to the examples described above, throughout 2022 and 2023, Luther

forwarded at least 12 other emails containing company information, including contact information

for investors and customers, from his CesiumAstro email account to his personal email account.

       53.     Luther’s employment also exposed him to one of CesiumAstro’s early investors—

a niche, national-security focused investment firm in Washington, D.C., whose investment role in




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this field is not widely known (“Investor C”). Luther maintained a close relationship with Investor

C, including by seeking many one-on-one meetings with Investor C. On or around October 2,

2023, Investor C informed CesiumAstro that it had received inbound interest on a potential

investment in AnySignal. At that time and now, AnySignal had just a handful of employees. The

likelihood of AnySignal having any meaningful connection to a well-shrouded, niche investor, is

low. Instead, on information and belief, AnySignal sought CesiumAstro’s Trade Secrets regarding

the identity and practices of CesiumAstro’s investors, including regarding Investor C, and then

Luther and AnySignal used them.

       54.     For almost a year-and-a-half following its incorporation, AnySignal had operated

in “stealth mode,” signifying that it was a startup operating to avoid public attention while it came

up with a business plan and developed products.

       55.     AnySignal’s emerged from stealth mode in October 2023, including by announcing

in industry publications that it was, with the backing of only $5 million in funding, releasing radio

products “with ground equipment for hardware-in-the-loop tests, modems that can be upgraded

for different waveforms, licensing support, and software that enables the radio to interface with

various flight systems.” AnySignal’s utilization of SDRs alongside waveform technology is in

direct competition with CesiumAstro—including its SDR products, use of waveform technology,

and other similar offerings. And, as discussed, it took CesiumAstro tens of millions of dollars,

seven years of research and development, the acquisition of a London company, and engineers

from numerous disciplines to pioneer these technologies.          Luther’s work at CesiumAstro,

including his interactions with CesiumAstro’s London office, exposed him to Trade Secrets

dealing with waveform technology. And during the bidding processes for CesiumAstro’s SDRs,

Luther received Trade Secrets relating to CesiumAstro’s SDR technology, including diagrams and




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schematics of CesiumAstro’s products and data on CesiumAstro’s pricing, costs, and profit

margins on these types of projects. On information and belief, there is little likelihood that, without

access to CesiumAstro’s Trade Secrets, AnySignal could achieve this complex SDR and waveform

technology within 18 months of incorporation, with only its $5 million in investment and a few

employees. Instead, on information and belief, AnySignal conspired with Luther to misappropriate

and did misappropriate certain of CesiumAstro’s Trade Secrets, including diagrams and

schematics relating to SDRs and waveform technology, which he accessed in his role with

CesiumAstro.

       56.     Understanding the risks of AnySignal’s role in Luther’s misappropriations—and

AnySignal’s own misappropriations—CesiumAstro sent AnySignal a letter on December 1, 2023.

       57.     AnySignal never responded.         Instead, on information and belief, AnySignal

proceeded with misusing CesiumAstro’s Trade Secrets disclosed to it by Luther. In February

2024, AnySignal won a bid for SDR work over CesiumAstro from a major customer with whom

CesiumAstro had a pre-existing relationship (“Customer A”). While Luther was employed by the

company, CesiumAstro tasked Luther with developing a proposed partnership plan with a

company that Customer A later acquired. Through his CesiumAstro work, Luther accessed

CesiumAstro Trade Secrets specific to the company that Customer A eventually acquired,

including information about CesiumAstro products (such as SDRs), pricing (such as prices, costs,

and profit margins), and critical vendor relationships. Indeed, Luther’s role at CesiumAstro

depended on these types of materials in preparing bids for customers and vendors for the types of

SDR technology that Company A later purchased from AnySignal. On information and belief,

AnySignal sought and Luther disclosed these CesiumAstro Trade Secrets, which AnySignal used

to unfairly compete against CesiumAstro and win Customer A’s business. This conduct violated




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the provision of the PIIA prohibiting Luther from interfering with CesiumAstro’s customer

relationships. Ex. A. § 5.2.

G.     Luther continues to obfuscate his misconduct.

       58.     In the weeks and months since he left the company, CesiumAstro has tried to work

with Luther to ensure that its Trade Secrets are protected and that Luther abides by his duties and

contracts, but Luther continues to delay, obstruct, and spoliate information relevant to his

misconduct.

       59.     CesiumAstro, through counsel, sent Luther a letter on August 31, 2023.

CesiumAstro reminded Luther of his post-employment obligations, including his non-compete

obligations along with the PIIA’s requirements to return any company property.                 This

straightforward request began a months-long—and still ongoing—chase to secure Luther’s basic

cooperation and compliance with the PIIA.

       60.     Luther responded on September 5, 2023, that he had identified the following

materials in his possession, which he described as “CesiumAstro property, proprietary

information, third party information, etc.”: 105 photos, 22 videos, 21 “iNotes,” 83 received emails,

and two sent emails. This disclosure revealed the falsity of Luther’s representations in the

Termination Certificate that he had conducted a diligent search for company materials in his

possession and had not copied them. And based on what CesiumAstro has since learned and

continues to learn, Luther’s September 2023 representations about his retention of company

property would prove to be incomplete and false in other ways.

       61.     A forensic review revealed at least four USB devices, some of which Luther then

claimed were his personal devices, had been plugged into his CesiumAstro laptop. CesiumAstro

first identified these devices to Luther by serial number and demanded their return pursuant to the

PIIA in early October 2023. Luther’s counsel spent a month dodging inquiries about the devices


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and their location. When he finally did respond substantively, his response was alarming—only

some of the devices were available, some had been lost, and Luther never explained what happened

to them.

       62.     Determined to protect its Trade Secrets and secure their safe return and remediation,

CesiumAstro agreed to negotiate with Luther regarding a forensic protocol that would govern the

return of all CesiumAstro information in his possession. Luther said he would only discuss a

forensic protocol if CesiumAstro provided unrelated concessions regarding Luther’s ineffective

attempt to exercise an option to purchase CesiumAstro stock. And when the parties finally began

discussing the forensic protocol, Luther continued to insist that he would not return any materials

to CesiumAstro unless and until CesiumAstro processed his stock option exercise. Luther also

attempted to make his agreement to a forensic protocol contingent upon CesiumAstro’s release of

Luther from any liability associated with the forensic findings. Cesium declined both proposals.

       63.     Eventually, CesiumAstro and Luther broke the logjam.              After months of

negotiations, the agreed forensic protocol provided, in short, that (1) Luther would turn over two

USB flash drives, an external hard drive, and three personal email accounts, (2) Luther would have

the opportunity to identify and withhold privileged materials, for which he must provide a privilege

log, and (3) the remaining hits would be provided to CesiumAstro, through its counsel, on either

a “confidential” or “attorney’s eyes only basis,” provided that the parties were to “meet and confer

in good faith to determine whether the confidentiality designation of any ‘Hits’ should be modified

from Attorney Eyes Only to Confidential.”

       64.     Luther failed to follow the agreed terms of the forensic protocol and instead hid

information to which CesiumAstro is entitled. For example, Luther failed to produce a privilege

log, suggesting that he hid evidence of his wrongdoing through baseless assertions of privilege.




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Luther also abused the attorney’s eyes only designations—including on materials such as email

blasts from trade publications and materials marked on their faces as CesiumAstro’s. This over-

designation has prevented CesiumAstro’s counsel from consulting with its client on technical

information or detailing in this filing Luther’s communications with third parties. To solve this

issue, CesiumAstro’s counsel requested the de-designation of these attorney’s eyes only materials,

which do not appear to contain Luther’s own sensitive material. Luther’s counsel’s response flew

in the face of the agreed requirement in the forensic protocol to meet and confer in good faith

regarding the re-designation of these materials: “I disagree, so no.”

        65.     Hamstrung by Luther’s continued obstruction and facing competitive harm by

AnySignal’s misuse of its Trade Secrets, CesiumAstro had no choice but to file this suit to recover

damages for its past harm and seek injunctive relief to prevent future harm.

                                            V.
                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

       Misappropriation Under and Violation of Defend Trade Secrets Act (“DTSA”)
                                   18 U.S.C. § 1836
                               Against Both Defendants

        66.     CesiumAstro incorporates and re-alleges each and every allegation above as if fully

set forth herein.

        67.     CesiumAstro is the owner of Trade Secrets, as defined above and incorporated

herein. These Trade Secrets relate to CesiumAstro’s suite of scalable offerings of active phased

array communications technology—the SDR technology generally, waveform technology, and its

many other products—as well as the trial-and-error research and development that went into these

products and offerings—and its business know-how relating to corporate strategies, including




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pricing information, bid processes and practices, and the identities and contact information of

strategic partners, investors, and loyal customers.

       68.     CesiumAstro has taken reasonable and extensive measures to keep secret the Trade

Secrets. These are described and incorporated herein and include, for example, disclosing them

on a need-to-know basis internally and externally (and requiring non-disclosure agreements before

any external disclosures), password protecting computers, applying other network protections to

prevent unauthorized external access, including firewalls, encryption, and cyber security software,

requiring employees to abide by confidentiality rules and an employee code of conduct, and

training employees on these rules. Due to these security measures, the Trade Secrets are not

available for others in the active phased array communications technology industry—or any other

industry—to use through any legitimate means.

       69.     CesiumAstro’s Trade Secrets derive independent economic value from not being

generally known to, and not being readily ascertainable through proper means by, another person

who could obtain economic value from the disclosure or use of the information in the ways

described above and incorporated herein.

       70.     At no time did CesiumAstro consent to Luther’s taking, using, retaining, or

disclosing the Trade Secrets for any purpose except for the benefit of CesiumAstro. At no time

did CesiumAstro consent to AnySignal’s taking, using, retaining, or disclosing the Trade Secrets

for any purpose at all.

       71.     In violation of CesiumAstro’s rights, Luther and AnySignal misappropriated the

Trade Secrets within the meaning of the DTSA, 18 U.S.C. § 1836, in the improper and unlawful

manners as alleged herein, including by acquiring, retaining, and using CesiumAstro’s trade secret

information.




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       72.     On information and belief, Luther misappropriated the Trade Secrets in the ways

described above and incorporated here, including by improperly retaining CesiumAstro company

files containing Trade Secrets, saving these files to removable memory and other servers and

devices, removing these files from CesiumAstro’s possession, refusing to return them, and

retaining them after termination of his CesiumAstro employment, despite knowing that the Trade

Secrets were acquired under circumstances giving rise to a duty for him to maintain the secrecy of

the Trade Secrets and to refrain from using them either after his employment with CesiumAstro

ended or for any purpose other than for the benefit of CesiumAstro.

       73.     On information and belief, AnySignal misappropriated the Trade Secrets in the

ways described above and incorporated here, including by receiving the CesiumAstro materials

and information wrongfully disclosed to it by Luther, retaining those materials, and using them in

direct competition with CesiumAstro, despite knowing that Luther had no authorization from

CesiumAstro to possess or disclose the Trade Secrets, including after his employment with

CesiumAstro ended.

       74.     Luther’s and AnySignal’s ongoing misappropriation of the Trade Secrets is

intentional, knowing, willful, malicious, fraudulent, and oppressive.        They know of the

confidentiality, ownership, and use restrictions on the Trade Secrets.

       75.     As the direct and proximate result of Luther’s and AnySignal’s conduct,

CesiumAstro has suffered severe harm and significant damages within the meaning of

18 U.S.C. § 1836(b)(3)(B)(i)(I), in an amount to be proven at trial. In addition, Luther and

AnySignal have been unjustly enriched as a result of his misappropriation of the Trade Secrets

within the meaning of 18 U.S.C. § 1836(b)(3)(B)(i)(II), in an amount to be proven at trial.




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        76.     Because CesiumAstro’s remedy at law is inadequate, CesiumAstro seeks, in

addition to damages, permanent injunctive relief to recover and protect the Trade Secrets.

CesiumAstro’s business operates in a competitive market and will continue suffering irreparable

harm absent injunctive relief.

                                 SECOND CAUSE OF ACTION

      Misappropriation Under and Violation of the Texas Uniform Trade Secrets Act
                         Tex. Civ. Prac. & Rem. Code § 134A
                               Against Both Defendants

        77.      CesiumAstro incorporates and re-alleges each and every allegation above as if

fully set forth herein.

        78.     CesiumAstro is the owner of Trade Secrets, as defined above and incorporated

herein. These Trade Secrets relate to CesiumAstro’s suite of scalable offerings of active phased

array communications technology—the SDR technology generally, waveform technology, and its

many other products—as well as the trial-and-error research and development that went into these

products and offerings—and its business know-how relating to corporate strategies, including

pricing information, bid processes and practices, and the identities and contact information of

strategic partners, investors, and loyal customers.    These Trade Secrets comprise business,

scientific, technical, economic, or engineering information that constitute “trade secrets” under

Tex. Civ. Prac. & Rem. Code § 134A.002(6).

        79.     CesiumAstro has taken reasonable steps to maintain the secrecy of its Trade

Secrets. These are described and incorporated herein and include, for example, disclosing them

on a need-to-know basis internally and externally (and requiring non-disclosure agreements before

any external disclosures), password protecting computers, applying other network protections to

prevent unauthorized external access, including firewalls, encryption, and cyber security software,

requiring employees to abide by confidentiality rules and an employee code of conduct, and


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training employees on these rules. Due to these security measures, the Trade Secrets are not

available for others in the active phased array communications technology industry—or any other

industry—to use through any legitimate means.

       80.     These confidential and proprietary Trade Secrets derive independent economic

value, actual or potential, from not being generally known to, and not being readily ascertainable

through proper means by, others who can obtain economic value from their disclosure or use, and

have conferred a competitive advantage on CesiumAstro in the relevant market in the ways

described above and incorporated herein.

       81.     Other than through Luther’s improper disclosure and AnySignal’s improper use,

the Trade Secrets are not known to the public and are not readily ascertainable by proper means to

persons who could derive value from their disclosure or use.

       82.     On information and belief, Luther misappropriated the Trade Secrets in the ways

described above and incorporated here, including by improperly retaining CesiumAstro company

files containing Trade Secrets, saving these files to removable memory and other servers and

devices, removing these files from CesiumAstro’s possession, refusing to return them, and

retaining them after termination of his CesiumAstro employment, despite knowing that the Trade

Secrets were acquired under circumstances giving rise to a duty for him to maintain the secrecy of

the Trade Secrets and to refrain from using them either after his employment with CesiumAstro

ended or for any purpose other than for the benefit of CesiumAstro.

       83.     On information and belief, AnySignal misappropriated the Trade Secrets in the

ways described above and incorporated here, including by receiving the CesiumAstro materials

and information wrongfully disclosed to it by Luther, retaining those materials, and using them in

direct competition with CesiumAstro, despite knowing that Luther had no authorization from




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CesiumAstro to possess or disclose the Trade Secrets, including after his employment with

CesiumAstro ended.

       84.     Luther’s and AnySignal’s actual and threatened use and disclosure of the Trade

Secrets constitute misappropriation because at the time of such use and disclosure, Luther and

AnySignal knew or had reason to know that their knowledge of the Trade Secrets was derived

through persons, including Luther himself, who owed a duty to CesiumAstro to maintain the

secrecy of the Trade Secrets.

       85.     Luther’s and AnySignal’s ongoing misappropriation of the Trade Secrets is

intentional, knowing, willful, malicious, fraudulent, and oppressive.         They know of the

confidentiality, ownership, and use restrictions on the Trade Secrets.

       86.     By reason of the above-alleged acts and conduct of Luther and AnySignal,

CesiumAstro has been damaged, and it will continue to suffer great and irreparable harm and

damage. The amount of this irreparable harm will be difficult if not impossible to ascertain, and

CesiumAstro will be without an adequate remedy at law, and, therefore, is entitled to injunctive

relief. CesiumAstro is informed and believes that, if Luther and AnySignal are not enjoined, they

will continue to disclose and use CesiumAstro’s confidential, proprietary, and trade secret

information for their own benefit and to CesiumAstro’s detriment.

       87.     CesiumAstro is also entitled to recover compensatory and punitive damages from

Luther and AnySignal, including but not limited to the losses resulting from their wrongful conduct

and any unjust enrichment caused by their misappropriation. The amount of such relief cannot be

determined precisely at this time.




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                                 THIRD CAUSE OF ACTION

                                   Breach of Contract (PIIA)
                                        Against Luther

         88.    CesiumAstro incorporates and re-alleges each and every allegation above as if fully

set forth herein.

         89.    Luther entered into a valid and enforceable contract with CesiumAstro—the

PIIA—in exchange for continued employment with CesiumAstro.

         90.    At no point was Luther’s performance under the PIIA excused.                Luther

acknowledged in the PIIA that “[t]he provisions of this Agreement shall survive the termination

of my Service for any reason.” Ex. A § 11.6. In addition, he signed the Termination Certification

on August 21, 2023 acknowledging his understanding of and intent to comply with the non-

disclosure, non-competition, and non-solicitation obligations of the PIIA. Ex. B.

         91.    Luther breached the PIIA by, among other things, using CesiumAstro’s Trade

Secrets and Proprietary Information (as that term is defined in the PIIA) in a manner not for the

benefit of CesiumAstro, and by disclosing these materials to AnySignal without authorization. Id.

§ 2.2.

         92.    Luther further breached the PIIA by storing Trade Secrets and Proprietary

Information (as that term is defined in the PIIA) on services and devices not owned by

CesiumAstro. Id. § 2.6.

         93.    Luther further breached the PIIA by failing to return these Trade Secrets and

Proprietary Information (as that term is defined in the PIIA), along with other CesiumAstro

information and devices.     Id. § 7. With respect to certain devices, the condition in which he

returned them—having been “wiped” of certain data and company files—further violates the

provision of the PIIA requiring prompt return of company property.     Id.



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       94.     Luther further breached the PIIA by improperly competing with CesiumAstro by

directly or indirectly acting in or overseeing a role, including with AnySignal and possibly others,

that is similar to his role at CesiumAstro and/or by participating in the organization, operation,

management, or control of AnySignal and possibly others that compete with, or that are planning

to compete with, CesiumAstro’s business as conducted during the court of his engagement with

CesiumAstro in the geographic areas restricted by the PIIA. Id. § 5.4(a).

       95.     Luther further breached the PIIA by improperly competing with CesiumAstro by

interfering with customer relationships, including on information and belief by participating with

AnySignal in the process of bidding for the business of Customer A. Id. § 5.2.

       96.     CesiumAstro has performed all of its obligations under the PIIA.

       97.     As a direct and proximate result of Luther’s breach of the PIIA, CesiumAstro has

been directly harmed in an amount to be proven at trial.

       98.     Luther agreed that his breach of these provisions of the PIIA (a) would cause

immediate and irreparable harm to CesiumAstro, (b) would cause damage to CesiumAstro in

amounts difficult to ascertain, and (c) would not be adequately remedied by monetary damages

alone. Ex. A § 8.1. By the terms of the PIIA, CesiumAstro is entitled to injunctive relief

compelling Luther to comply with all provisions of the PIIA. Id.

       99.     For Luther’s breach the non-compete provisions of the PIIA, CesiumAstro is

entitled to a declaration that the original one-year term of that provision shall be extended by one

day for each day Luther failed to comply with the non-compete restriction at issue. Id. § 8.2.

       100.    Further, for Luther’s breach of the non-compete provisions of the PIIA,

CesiumAstro is entitled to all attorney’s fees incurred in seeking relief for that breach. Id.




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                                FOURTH CAUSE OF ACTION

                         Breach of Fiduciary Duty and Duty of Loyalty
                                        Against Luther

        101.    CesiumAstro incorporates and re-alleges each and every allegation above as if fully

set forth herein.

        102.    During his employment with CesiumAstro, Luther occupied a position of special

confidence and trust.

        103.    As a result, CesiumAstro gave Luther access to CesiumAstro’s confidential and

proprietary information. With respect to this information and through his special position of

confidence and trust with CesiumAstro, Luther owed a common law fiduciary duty and a duty of

loyalty to CesiumAstro, including to avoid actions that would be injurious to CesiumAstro, self-

dealing, and actions that would usurp corporate opportunities for personal gain.

        104.    Luther violated these duties by unlawfully taking, retaining, and disclosing

CesiumAstro’s confidential and proprietary information and Trade Secrets and by usurping

CesiumAstro’s opportunities for the benefit of himself and others.

        105.    As a direct and proximate result of Luther’s breach of the PIIA, CesiumAstro has

been directly harmed in an amount to be proven at trial.

        106.    Because Luther’s conduct was willful and malicious, CesiumAstro seeks punitive

and exemplary damages.

                                  FIFTH CAUSE OF ACTION

                          Tortious Interference with Contract (PIIA)
                                      Against AnySignal

        107.    CesiumAstro incorporates and re-alleges each and every allegation above as if fully

set forth herein.




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       108.     Luther entered into a valid and enforceable contract with CesiumAstro—the

PIIA—in exchange for continued employment with CesiumAstro. AnySignal is not a party to this

contract.

       109.     On information and belief, AnySignal was aware of Luther’s obligations in the PIIA

as early as August 2023. On December 1, 2023, CesiumAstro sent AnySignal a letter, putting

AnySignal on notice of Luther’s ongoing obligations under the PIIA. At least by this point and

possibly earlier, AnySignal knew of Luther’s obligations under the PIIA.

       110.     Luther has improperly designated as “attorney’s eyes only” certain documents that

will reveal evidence of AnySignal’s knowledge of these obligations.           Because of Luther’s

improper designations, CesiumAstro cannot detail these documents in this pleading but will do so

at the appropriate time.

       111.     AnySignal’s discussions with Luther regarding employment and receipt, retention,

and use of CesiumAstro’s confidential and Trade Secret information wrongfully obtained from

Luther have interfered with CesiumAstro’s existing contractual relationship between Luther in the

PIIA. As a result of AnySignal’s actions to wrongfully induce Luther to breach the PIIA,

AnySignal deprived CesiumAstro of the benefit of its bargain in the PIIA, including in the

provisions governing the treatment and return of CesiumAstro’s confidential and Trade Secret

information and the non-compete provisions.

       112.     AnySignal committed the acts described above with actual malice and with the

conscious desire to interfere with this relationship, or AnySignal was at least substantially certain

that such interference would result from its conduct. By the time of CesiumAstro’s December 1,

2023 letter to AnySignal and possibly earlier, AnySignal was on notice of the PIIA and Luther’s

obligations under it. Nevertheless, leading up to at least the February 2024 bid process for




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Customer A’s SDR business, AnySignal interfered with CesiumAstro’s contractual relationship

with Luther in the PIIA, including specifically with the provisions governing the treatment and

return of CesiumAstro’s confidential and Trade Secret information. AnySignal was aware of the

PIIA and acted with knowledge that its conduct would directly interfere with Luther’s obligations

under it.

        113.     CesiumAstro has suffered actual damages as a result of AnySignal’s interference.

                                           VI.
                                  DEMAND FOR JURY TRIAL

        114.     CesiumAstro demands a trial by jury on all issues so triable.

                                            VII.
                                     PRAYER FOR RELIEF

        CesiumAstro prays for a judgment against Luther and AnySignal, and each of them, as

follows:

        a.       A judgement in favor of CesiumAstro and against Luther and AnySignal;

        b.       An award of damages caused by Luther’s and AnySignal’s conduct, including

compensatory, unjust enrichment, punitive, and exemplary damages, as well as applicable interest;

        c.       An injunction enjoining Luther and AnySignal, as well as their employers, agents,

employees, and all persons acting in concert with them, from using, copying, publishing,

disclosing, transferring, or selling CesiumAstro’s Trade Secrets or other confidential or proprietary

information that may be determined not to be Trade Secret information, or any product that is

based on or incorporates part or all of CesiumAstro’s Trade Secrets or other confidential and

proprietary information, and from obtaining any commercial advantage or unjust enrichment from

their misappropriation of CesiumAstro’s Trade Secrets or other confidential or proprietary

information;




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        d.       An injunction requiring Luther to comply with all terms of the PIIA, including by

(i) holding CesiumAstro’s Trade Secrets in the strictest confidence and not using them for any

purpose; (ii) not using his association with the goodwill of the CesiumAstro; (iii) delivering to

CesiumAstro all of its property in any form; (iv) refraining from competing with CesiumAstro for

a period of one year following the end of his employment with CesiumAstro, plus an additional

amount of time corresponding to the amount of time that Luther competed with CesiumAstro and

that it took CesiumAstro to obtain a favorable judgment;

        e.       A Declaration that neither Luther nor AnySignal have any rights or privileges to

use CesiumAstro’s trade secrets;

        f.       A declaration stating that the original one-year term of the non-compete provision

of the PIIA, Ex. A § 5.4, shall be extended by one day for each day Luther failed to comply with

it;

        g.       An order requiring Luther and AnySignal, as well as their employers, agents,

employees, and all persons acting in concert with them, to return to CesiumAstro any and all of its

Trade Secrets or other confidential or proprietary information that may be determined not to be

Trade Secret information, including but not limited to any and all materials created incorporating

or referencing CesiumAstro’s Trade Secrets or other confidential information;

        h.       The imposition of a constructive trust for the benefit of CesiumAstro upon (i) all

assets misappropriated or used by Luther in violation of his contractual obligations to

CesiumAstro, and all CesiumAstro trade secrets misappropriated by Luther and/or AnySignal; and

(ii) all gains, including, but not limited to, any profits of, equity interests in, and/or increases in the

value of equity interests in, Spark, derived from the breach of any agreements with CesiumAstro,




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or from any misappropriation of CesiumAstro’s Trade Secrets or other confidential or proprietary

information by Luther and/or AnySignal;

       i.       Reasonable attorney’s fees;

       j.       All costs of suit herein incurred; and

       k.       Such other relief as the Court may deem proper.



 Dated: March 24, 2024                              Respectfully submitted,


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